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             UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                San Jose Venue


               Request for Modifying the Conditions or Term of Supervision
                              with Consent of the Offender
                   (Probation Form 49, Waiver of Hearings is Attached)


Name of Offender                                   Docket Number
Sergio Casper Contreras                            0971 5:11CR00876-001 EJD

Name of Sentencing Judge:       The Honorable Edward J. Davila
                                United States District Judge

Date of Original Sentence:      October 29, 2012

Original Offense:
Count One: Distribution of Child Pornography, 18 U.S.C. § 2252(a)(2), a Class C Felony.

Original Sentence: 87 month custody, life time supervised release
Special Conditions: no alcohol, $100 special assessment fee; substance abuse treatment;
search; search of computer and related devices; register as a sex offender; sex offender treatment;
no pornography; no child pornography; not to loiter within 100 feet of school yards, parks,
public swimming pools, playgrounds, youth centers, video arcade facilities; no contact with
minors; not to be employed by a business that causes him to have regularly contacts with minors;
not to be employed by a business whose principal product is the production of sexually explicit
materials; employment must be approved by the USPO, not to reside within view of school
yards, parks, public swimming pools, playgrounds, youth centers, video arcade facilities ; no
firearms; and submit to DNA collection.

Prior Form(s) 12: None

Type of Supervision                                Date Supervision Commenced
Supervised Release                                 March 9, 2018
Assistant U.S. Attorney                            Defense Counsel
Not Assigned                                       Manuel Araujo (AFPD)


                                      Petitioning the Court

To modify the conditions of Supervised Release as follows:




                                                                     NDC-SUPV-FORM 12B(1) 4/6/2015
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RE:    Contreras, Sergio Casper                                                                    2
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1) You must not frequent, or loiter, within 100 feet of school yards, parks, public swimming
   pools, playgrounds, youth centers, video arcade facilities, or other places primarily used
   by persons under the age of 18, without the approval of the probation officer.

2) You must not reside within direct view of school yards, parks, public swimming pools,
   playgrounds, youth centers, video arcade facilities, or other places primarily used by
   persons under the age of 18, without the approval of the probation officer. Your
   residence shall be approved by the Probation Officer, and any change in residence must
   be preapproved by the Probation Officer. You must submit the address of the proposed
   residence to the Probation Officer at least 10 days prior to any scheduled move.

                                               Cause

Mr. Contreras commenced his term of supervised release on March 9, 2018. He has been
residing at the City Team shelter since his release. The client’s mother and brothers reside in a
small one bedroom apartment in San Jose, California. Mr. Contreras has been working on
rebuilding his relationships with his mother and siblings since his release and has made great
progress. Mr. Contreras is requesting permission to reside with his mother and brothers at his
mother’s apartment. However, special conditions number eight and thirteen prohibit him from
frequenting, loitering, and residing, within direct view of public swimming pools, and the
client’s mother and brothers reside in a small apartment complex where all the front doors and
windows of all the units face the courtyard with swimming pool. Mr. Contreras is employed part
time at Home Depot, and he is unable to secure his own apartment at this time. Although his
mother’s apartment is less than optimal, especially for four adults, it appears to be a much better
living environment for the client versus the homeless shelter. Mr. Contreras’ mother and
brothers appear supportive of the client, and serve as a protective factor for him. They
understand the client’s restrictions and are willing to ensure the client is compliant with the terms
of his supervision, including providing window coverings to minimize the view of the courtyard
and pool. In view of the above, it is respectfully requested the Court modify the language in
special conditions number eight and thirteen to allow the probation officer discretion to assess
and provide approval to the client, based on his risks, needs, and his level of compliance to reside
in a location in which he is in direct view of a public swimming pool. Attached is a signed
Waiver of Hearing. Mr. Contreras voluntarily signed the Waiver of Hearing to allow the
probation officer discretion to make the appropriate assessments related to conditions numbers
eight and thirteen.


Respectfully submitted,                            Reviewed by:




___________________________________                ___________________________________
Janie Zhuang                                       Amy Rizor
U.S. Probation Officer Specialist                  Supervisory U.S. Probation Officer


                                                                       NDC-SUPV-FORM 12B(1) 4/6/2015
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RE:    Contreras, Sergio Casper                                                                3
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Date Signed: November 2, 2018



THE COURT ORDERS:



       To modify the conditions of probation as follows:


       1) You must not frequent, or loiter, within 100 feet of school yards, parks, public
       swimming pools, playgrounds, youth centers, video arcade facilities, or other places
       primarily used by persons under the age of 18, without the approval of the probation
       officer.

       2) You must not reside within direct view of school yards, parks, public swimming pools,
       playgrounds, youth centers, video arcade facilities, or other places primarily used by
       persons under the age of 18, without the approval of the probation officer. Your
       residence shall be approved by the Probation Officer, and any change in residence must
       be preapproved by the Probation Officer. You must submit the address of the proposed
       residence to the Probation Officer at least 10 days prior to any scheduled move.

       Submit a request for a warrant
       Submit a request for summons
       Other:




11/5/2018

Date                                                Edward J. Davila
                                                    United States District Judge




                                                                    NDC-SUPV-FORM 12B(1) 4/6/2015
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